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                        EXHIBIT "A"


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      5 Attorneys for Stephen J. Donell, Receiver
      6
      7
      8                                UNITED STATES DISTRICT COURT
      9                              CENTRAL DISTRICT OF CALIFORNIA
:~   10
a
N    11   SECURITIES AND EXCHANGE                     CASE NO. CV 10-1689-JST(AJWx)
w         COMMISSION,
     12                                               NOTICE OF MOTION OF STEPHEN
                              Plaintiff,              J.DONELL, PERMANENT
z    13                                               RECEIVER,TO APPROVE:
w                  v.                                 RECEIVER'S FINAL ACCOUNT
     14                                               AND REPORT AND
O       FRANCOIS E. DURMAZ(aka                        COMPENSATION; RE UEST FOR
V    15 MAHMUT E. DURMAZ),ROBERT C.                   COMPENSATION OF    E
z       PRIBILSKI, USA RETIREMENT                     RECEIVER'S COUNSEL AND
oc   16 MANAGEMENT SERVICES aka USA                   ACCOUNTANT;DISCHARGE OF
w       FINANCIAL MANAGEMEN                           THE RECEIVER; ABANDONMENT
     17 SERVICES,INC.),                               OR DESTRUCTION OF BOOKS
                                                      AND RECORDS; DISBURSEMENT
     18                       Defendants.             OF REMAINING FUNDS; AND
                                                      EXONERATION OF THE BOND
     19            . ,                                LLP
     20 SIBEL INCE ME~IlVIET KAR.AKUS,                DATE: February 9, 2018
        MARLALI CiAYRIMENKUL                          TIME: 2:30 P.M.
     21 YATIRIMLARI, MARLALI                          CTRM: l0A
        PROPERTY INVESTMENT
     22 COMPANY LLC,GULEN                             Before the Honorable Josephine L.
        ENTERPRISES,INC.,                             Staton
     23
                  Relief Defendants.
     24
     25
     26
     27
     28
          13326.7:7732774.1
              NOTICE OF MOTION OF STEPHEN J. DONELL,RECEIVER FOR ORDER APPROVING RECEIVER'S
                                                              EXHIBIT "A" - Page 22
                                       FINAL ACCOUNT AND REPORT
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                                       #:2069



        1            TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF
       2 IQK~:~~
       3             PLEASE TAKE NOTICE that on February 9, 2018 at 2:30 p.m., or as soon
       4 thereafter as counsel may be heard, in the Courtroom ofthe Honorable Josephine S.
       5 Tucker, Courtroom 10A, ofthe United States District Court, Central District of
       6 California, located at 411 W.Fourth Street, Santa Ana,CA 92701, Stephen J.
       7 Donell, Permanent Receiver ("Receiver"), will and hereby does move the Court for
       8 an order approving: the Receiver's Final Account and Report and Compensation;
       9 Compensation ofthe Receiver's Counsel and Accountant; Discharge ofthe
~.
      10 Receiver; Abandonment or Destruction of Books and Records; Disbursement of
a
      11    Remaining Funds; and Exoneration of the Bond.
W
--~   12             The Receiver's Motion will be based on this Notice of Motion, the Motion,

z     13 the accompanying Memorandum ofPoints and Authorities, the Declaration of
w
      14 Stephen J. Donnell and upon such other evidence and argument as may be presented
O
V      15 at the time ofthe hearing.
z
oc     16
w
       17 ~ DATED: December 22, 2017             ERVIN COHEN & JESSUP LLP
       18
       19                                        Bv: /s/ Bvron Z. Moldo
                                                     BYRON Z. MOLDO
      20                                             Attorneys for Stephen J. Donell,
                                                     Permanent Receiver
      21
      22
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            13326.7:7732774.1                         Z
                NOTICE OF MOTION OF STEPHEN J. DONELL,RECEIVER FOR ORDER APPROVING RECEIVER'S
                                                                EXHIBIT "A" - Page 23
                                          FINAL ACCOUNT AND REPORT
